      Case 1:23-cv-00142-BLW Document 133-5 Filed 05/09/23 Page 1 of 2



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                       UNITED STATE DISTRICT COUBT
                            DISTRICT OF TDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-             Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, CAITLIN GUSTAFSON,          DECLABATION OF TREVOR
M.D., on behalf of herself and her patients,    MISSELDINE
and DARIN L. WEYHRICH, M.D., on behalf
of himself and his patients,
                Plaintiffs,


RAI1L LABRADOR, in his capacity as the At-
torney General of the State of Idaho; MEM-
BERS OF THE IDAHO STATE BOARD OF
MEDICINE and IDAHO STATE BOARD OF
NURSING, in their olficial capacities,
COUNTY PROSECUTING ATTORNEYS, iN
their offrcial capacities,
               Defendants.
       Case 1:23-cv-00142-BLW Document 133-5 Filed 05/09/23 Page 2 of 2



       I, Trevor Misseldine hereby declare and state as follows:

       1.     I am the prosecuting attorney for Gooding County, Idaho, and am named

as a Defendant in this action.

       2.     The Idaho Attorney General's OIfrce never sent me a copy of the Attor-

ney General's Marc};, 27 , 2023letter to Rep. Brent Crane (the "Crane Letter").

       3.     I received that letter only in connection with this litigation.

       4.     I did not, and do not, regard the Crane Letter as any type of guidance or

directive to me or to my office from the Office of the Attorney General.

       5.     My office has taken no position regarding the scope of enforcement un-

der Idaho Code $ 18-622.

      6.      My prosecutorial decisions are based on my own independent legal duty,

interpretation of the law, and discretion.

      7.      This is true no less with respect to any prosecution under I.C. $ 18-622.

      8.      The Attorney General has no supervisory authority over my work as a

prosecutor or the power to direct me to initiate any prosecution without my consent.

      9.      I am aware of no prosecution, or threat of prosecution, brought by any-
one in my office against Plaintiffs under Idaho Code g 18-622.

       10. In fact, none of the Plaintiffs in this action have facilities in my county.
      I declare under penalty of perjury that the foregoing is true and correct.

      Dated: May 9,2023.

                                                     ,//   /
                                              Trevor Misselfine
                                                               ?,,-.\,
 Declaration of Trevor Misseldine – 2
